

People v Myree (2024 NY Slip Op 06553)





People v Myree


2024 NY Slip Op 06553


Decided on December 24, 2024


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: December 24, 2024

Before: Moulton, J.P., Kapnick, Scarpulla, Mendez, O'Neill Levy, JJ. 


Ind. No. 4284/18 Appeal No. 3441 Case No. 2019-04982 

[*1]The People of the State of New York, Respondent,
vRalphie Myree, Appellant.


Twyla Carter, The Legal Aid Society, New York (Danielle A. Bernstein of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (Catherine Marotta of counsel), for respondent.



Judgment, Supreme Court, New York County (Maxwell T. Wiley J.), rendered July 17, 2019, convicting defendant, upon her plea of guilty, of criminal possession of a weapon in the third degree, and sentencing her, as a second felony offender, to a term of 3 ½ to 7 years, unanimously modified, as a matter of discretion in the interest of justice, to the extent of reducing the prison component of the sentence to a term of 3 to 6 years, and otherwise affirmed.
We find the sentence excessive to the extent indicated.
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: December 24, 2024








